

People ex rel. Mills v Colvin (2020 NY Slip Op 00720)





People ex rel. Mills v Colvin


2020 NY Slip Op 00720


Decided on January 31, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 31, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


103 KAH 18-02019

[*1]THE PEOPLE OF THE STATE OF NEW YORK EX REL. RICHARD MILLS, PETITIONER-APPELLANT,
vJOHN COLVIN, SUPERINTENDENT, FIVE POINTS CORRECTIONAL FACILITY, RESPONDENT-RESPONDENT. (APPEAL NO. 3.) 






CHARLES J. GREENBERG, AMHERST, FOR PETITIONER-APPELLANT.
RICHARD MILLS, PETITIONER-APPELLANT PRO SE.


	Appeal from a judgment of the Supreme Court, Seneca County (Daniel J. Doyle, J.), dated August 28, 2018 in a habeas corpus proceeding. The judgment, inter alia, denied the motion of petitioner for relief pursuant to CPLR 5015. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: January 31, 2020
Mark W. Bennett
Clerk of the Court








